  Case 21-00117      Doc 24   Filed 05/02/22 Entered 05/02/22 14:14:10                 Desc Main
                                 Document Page 1 of 1
                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                                     )   BK No.:      21-05434
JUSTIN S. FARA                                             )
                                                           )   Chapter: 7
                                                           )
                                                               Honorable Timothy Barnes
                                                           )
                                                           )
                                    Debtor(s)              )
CHOP FOO, LLC                                              )   Adv. No.: 21-00117
                                                           )
                                                           )
                                    Plaintiff(s)
JUSTIN S. FARA                                             )
                                                           )
                                                           )
                                    Defendant(s)           )

                       ORDER COMPELLING DISCOVERY RESPONSES

        This matter coming to be heard on Plaintiff Chop Foo, LLC's Motion to Compel Discovery
Responses, it is hereby ordered that Defendant Justin S. Fara shall serve responses to Plaintiff's
interrogatories and document requests on or before May 9, 2022.




                                                         Enter:


                                                                   Timothy A. Barnes

Dated: May 02, 2022                                                United States Bankruptcy Judge

 Prepared by:
 Eversheds Sutherland (US) LLP
 Timothy J. McCaffrey
 Emily A. Robins
 900 N. Michigan Ave., Suite 1000
 Chicago, IL 60611
 (312) 724-9006
 timmccaffrey@eversheds-sutherland.com
 emilyrobins@eversheds-sutherland.com
